          Case 1:15-cv-07433-LAP Document 1128 Filed 10/20/20 Page 1 of 1




                                          October 20, 2020
VIA ECF

The Honorable Loretta A. Preska        Counsel may proceed with filing the relevant
District Court Judge                   documents to the public docket, subject to the
United States District Court           previously-ordered redactions. SO ORDERED.
Southern District of New York
500 Pearl Street                                                                         10/20/2020
New York, NY 10007

         Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

       We represent Plaintiff Virginia Giuffre in this matter and write to confirm that, pursuant to
the Court’s orders dated July 28, 29, and 30, and October 20, 2020 (ECF Nos. 1077, 1079, 1087,
and 1127), Plaintiff may file the remaining documents listed in Exhibit A to Plaintiff Virginia
Giuffre’s Opposition to Defendant Ghislaine Maxwell’s Objections to Unsealing Docket Entries
143, 164, 172 199, and 230 (ECF No. 1068-1) later today.

        By order dated October 19, 2020, after expedited briefing and a hearing held on October
13, 2020, the Second Circuit affirmed this Court’s order (ECF No. 1126), rejecting Maxwell’s
objections to the unsealing of “Ms. Maxwell’s and Doe 1’s depositions transcripts and any sealed
materials that quote or disclose from them” (ECF No. 1079 at 3-4). The Court already reviewed
and approved Plaintiff’s proposed redactions for these documents, and Plaintiff has verified that
redactions are in place for each of the categories of information identified in the Court’s July 30
and October 20 orders. ECF No. 1087 at 3 (holding that the Court “approves as appropriate Ms.
Giuffre’s proposed redactions to the sealed materials”); ECF No. 1127. 1

       For the foregoing reasons, Plaintiff respectfully requests the Court’s confirmation that she
may file the documents at issue on ECF. Pursuant to the Court’s July 28 order, Plaintiff will file
the documents under a heading of “Documents Ordered Unsealed by Order of July 23, 2020.”
ECF No. 1077.

                                               Sincerely,

                                               /s/ Sigrid McCawley
                                               Sigrid S. McCawley, Esq.


         cc: Counsel of Record (via ECF)



1
    Doe 1’s name is redacted from the materials that will be filed.
